Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 1 of 11




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

          Counter-Defendant,

   v.

   CIRCUITRONIX LLC,

         Counter-Plaintiff,
   ______________________________/

                    PLAINTIFF’S AMENDED RENEWED MOTION
          FOR PARTIAL JUDGMENT AS A MATTER OF LAW UNDER RULE 50(b)
                   ADDING REFERENCES TO TRIAL TRANSCRIPT

          Circuitronix, LLC (“CTX-US”) hereby submits its amended renewed motion for partial
   judgment as a matter of law under Federal Rule 50(b) with respect to its claim for $317,539 in
   premium payments. Because the evidence at trial indisputably demonstrated that CTX-US has
   been damaged as result of Jiangmen Benlida Printed Circuit Co., Ltd.’s (“Benlida’s”) contractual
   breaches in demanding these unauthorized premiums, the $317,539 figure should be added to the
   overall damages awarded in the jury’s verdict and the judgment modified accordingly. Pursuant
   to the Court’s orders (ECF Nos. 302, 308) on Benlida’s motion for extension of the briefing
   schedule on CTX-US’s renewed motion for judgment as a matter of law (ECF No. 301), CTX-
   US submits this amended motion adding more specific citations and quotations from the trial
   testimony regarding this issue. 1




   1
     This amended motion is timely because it is filed within ten days of CTX-US’s receipt of the
   trial transcript on February 23, 2024, consistent with the Court’s latest order regarding the
   briefing schedule. ECF No. 308. Apart from adding trial transcript references, CTX-US has not
   otherwise altered the motion except to remove the section requesting leave to amend the motion
   with references to the trial transcript, which the Court already allowed. ECF No. 297 at 7-9.
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 2 of 11




                                           BACKGROUND
          After the Court granted summary judgment dismissing Benlida’s affirmative claims, the
   trial in this matter proceeded on CTX-US’s sole counterclaim for breach of contract. CTX-US
   sought $10,246,387 for Benlida’s breaches of the Manufacturing Agreement and Letter
   Agreement based on four distinct categories of damages: $4,760,847 in overpayments on
   invoices that Benlida declined to return, $2,343,001 in unpaid lead-time penalties, $2,825,000 in
   payments that Benlida diverted to ROK Printed Circuit Co. (“ROK”) but failed to credit in its
   ledger with CTX-US, and $317,539 in improper premiums on the invoices.
          After the parties rested their cases, CTX-US moved for partial judgment as a matter of
   law on three bases:
           I.     That Benlida breached the Manufacturing Agreement and Letter
                  Agreement by refusing to return overpayments on invoices which had
                  accumulated due to Benlida’s improper payment demands not allowed
                  under the parties’ agreements;
           II.    That Benlida may not advance a “first in, first out” or “FIFO” defense
                  for CTX-US’s claimed damages for overpayment of invoices; and
           III.   That Benlida may not advance a price-increase defense to set off or
                  reduce CTX’s claimed damages for overpayment of invoices.

   ECF No. 269 at 1 (“DV Motion”).
          As relevant to this motion, in connection with the first ground, CTX-US argued that
   Benlida improperly demanded payment premiums in excess of the pricing terms permitted by the
   Manufacturing Agreement. Id. at 2-3. With transcripts of trial testimony then unavailable, CTX-
   US generally cited the testimony of its principal, Rishi Kukreja, that Benlida demanded payment
   premiums in excess of contractual price terms and threatened to cancel orders or stop production
   if CTX-US did not accede to its demands. Id. at 3. CTX-US also referenced Mr. Kukreja’s
   testimony regarding the premiums paid after 2019, and argued that “Benlida’s evidence accords
   with CTX’s regarding the fact of overpayment.” Id. at 3-4 (emphasis removed). It additionally
   cited testimony from Benlida’s key witness, Huang (“Tracy”) Sulan, and its CFO, Wu (“Roger”)
   Yukun, regarding CTX-US’s overpayments on invoices Benlida identified in connection with its
   affirmative claims. Id. at 4. CTX-US argued that based on this evidence, judgment as a matter
   of law was appropriate as to liability and the amount of damages on its breach-of-contract claim
   to recover the improper premiums charges and one other claimed damages category. Id. at 4.




                                                    2
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 3 of 11




          With respect to ground III in the motion, CTX-US argued that Benlida should not be
   permitted to raise what is essentially an affirmative defense for set off in an effort to reduce
   CTX-US’s damages by $1.5 million in price increases Benlida claimed. CTX-US argued that
   Benlida had abandoned the ability to raise the price-increase issue by failing to raise it as an
   affirmative defense in its pleadings and other submissions prior to trial. See DV Mot. 8-9; ECF
   No. 292 (“DV Reply”) at 3-4. Additionally, CTX-US observed, Benlida should be foreclosed
   from using the price-increase setoff defense because Benlida did not disclose the amount of the
   hoped-for setoff—$1.5 million—until trial and never provided an explanation or evidentiary
   support for how it calculated that amount. DV Mot. at 8; DV Reply at 4-5. 2
          After hearing argument on CTX-US’s Rule 50(a) motion, the Court deferred ruling and
   submitted the case to the jury. The jury returned a verdict for CTX-US, awarding $7,585,847 in
   damages. See ECF No. 278 (verdict form). That amount corresponds—to the dollar—to the
   damages CTX-US requested for overpayments on invoices that Benlida declined to return
   ($4,760,847) plus payments that Benlida diverted to ROK ($2,825,000). Mathematically, the
   jury’s verdict made clear that it had declined to award CTX-US anything for the premium
   payments Benlida had improperly forced CTX-US to pay, in breach of the contract.
          Once CTX-US’s Rule 50(a) motion was fully briefed, the Court entered an order denying
   those portions of the motion that it deemed the verdict had not mooted, and separately entered
   final judgment in CTX-US’s favor. ECF No. 293 (“DV Order”); ECF No. 294 (Final
   Judgment). 3 The Court faulted CTX-US for painting its argument “with broad strokes” and “in



   2After the Court’s Order Granting Summary Judgment (ECF No. 221) disposed of Benlida’s
   affirmative claims, which included money it claimed to be owed for a price increase, Benlida
   persisted in pressing the price-increase issue at trial as a defense, over CTX-US’s pretrial
   objection (ECF No. 255). CTX-US had previously moved to exclude evidence pertaining to
   Benlida’s affirmative claim for a price-increase amount of $2.11 million. See ECF No. 198
   (Omnibus Motion) at 5-7; ECF No. 204 (Omnibus Reply) at 1 n.1.
   3
     The Court determined that “the only aspect of Circuitronix’s motion for judgment as a matter of
   law that was not mooted is Circuitronix’s position that it should be awarded $317,539 in
   damages for improper premium charges, in addition to the verdict amount.” DV Order at 4. To
   the extent any evidence regarding a price-increase amount purportedly owed to Benlida factored
   into the Court’s decision to deny CTX-US’s motion, CTX-US renews its motion for judgment as
   a matter of law on that ground in addition to its request to add the $317,539 premium amount to
   the judgment.




                                                     3
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 4 of 11




   mostly summary fashion,” despite the unavailability of a trial transcript. DV Order at 5. As a
   result, and because CTX-US relied primarily on the testimony of its own principal, the Court
   concluded CTX-US had not met its burden of showing that “the evidence favoring the claimant
   is so one-sided as to be of overwhelming effect.” Id. at 4-5 (quoting Handley v. Werner Enters.
   Inc., No. 23-10587, 2023 WL 6628921, at *3 (11th Cir. Oct. 11, 2023)) (internal quotation marks
   omitted).
           CTX-US now timely renews its motion for judgment as a matter of law, this time
   equipped with the trial transcript and adding citations and references to it to overcome the
   criticisms the Court articulated in its order denying CTX-US’s Rule 50(a) motion.
                                       STANDARD OF REVIEW
           A court reviews a renewed motion for judgment as a matter of law pursuant to Rule 50(b)
   under “precisely the same” standard used for a motion pursuant to Rule 50(a). Chaney v. City of
   Orlando, 483 F.3d 1221, 1227 (11th Cir. 2007) (citing 9A Charles Alan Wright & Arthur R.
   Miller, Federal Practice and Procedure § 2537 (2d ed.1995)). As with motions under Rule
   50(a), the inquiry is whether the evidence is “legally sufficient ... to find for the party on that
   issue.” McGinnis v. Am. Home Mortg. Servicing, Inc., 817 F.3d 1241, 1254 (11th Cir. 2016)
   (quoting Fed. R. Civ. P. 50(a)(1)) (internal quotation marks omitted). A court must determine
   whether “such sufficient conflicts exist in the evidence to necessitate submitting the matter to the
   jury or whether the evidence is so weighted in favor of one side that one party must prevail as a
   matter of law.” Id. (quoting Nat’l Fire Ins. Co. of Hartford v. Fortune Constr. Co., 320 F.3d
   1260, 1267-68 (11th Cir. 2003)) (internal quotation marks omitted).
           In making its ruling, “the court must evaluate all the evidence, together with any logical
   inferences, in the light most favorable to the non-moving party.” Id. (quoting Beckwith v. City of
   Daytona Beach Shores, 58 F.3d 1554, 1560 (11th Cir. 1995)) (internal quotation marks omitted).
   Granting judgment as a matter of law under Rule 50(b) is appropriate—even when the movant
   bears the burden of proof on an issue—where “the facts and inferences point so strongly and
   overwhelmingly in favor of [that party] that reasonable jurors could not arrive at a contrary
   verdict.” LaRoche Indus., Inc. v. AIG Risk Mgmt., Inc., 959 F.2d 189, 191 (11th Cir. 1992)
   (citing Iervolino v. Delta Airlines, 796 F.2d 1408, 1418-19 (11th Cir. 1986)).




                                                      4
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 5 of 11




                                                ARGUMENT
       I.      CTX-US is entitled to judgment as a matter of law on its claim of
               damages for $317,539 in improperly assessed premium payments
            Although the Court previously determined that CTX-US had not carried its burden on
   review of the Rule 50(a) motion, the one-sided record evidence adduced at trial—by both
   parties—demonstrates that the judgment should be amended to add $317,539 in premium
   payments to CTX-US’s damage award.
            The Court should reconsider its previous conclusion that CTX-US neither “met th[e]
   demanding standard” for such Rule 50 motions brought by a claimant nor “even direct[ed] any
   argument toward it” in its Rule 50(a) motion. DV Order at 5. Perhaps the Court was unaware
   that, at the time it issued its ruling, no trial transcript was available to the parties. 4 Even in the
   midst of trial and without the benefit of a trial transcript, CTX-US’s pre-verdict motion met this
   standard, addressing the elements of its breach of contract claim as to each of four claimed
   categories of damages, including improper premium payments, and establishing the one-sided
   facts on the premium issue.
            While the Court faulted CTX-US for “paint[ing] its argument with broad strokes” (id.),
   the lack of precise detail or specific citations to the trial testimony in the Rule 50(a) motion was a
   natural consequence of CTX-US’s inability to cite to any trial transcript and reluctance to
   paraphrase trial testimony based on counsel’s notes. Now that the trial transcript is available,
   this amended motion demonstrates that CTX-US has met the high evidentiary burden to grant
   judgment as a matter of law in CTX-US’s favor on the premium-payment issue.
            CTX-US previously noted Mr. Kukreja’s testimony that “Benlida demanded payment
   premiums above the contractual price terms [of the Manufacturing Agreement] and threatened to
   cancel orders or stop production unless CTX[-US] complied with its demands.” DV Mot. at 3.
   Mr. Kukreja testified that, “in December of 2019, Benlida started making [CTX-US] pay a 10
   percent or 3 percent premium over the purchase [price].” ECF No. 320 (“Trial Tr. (Vol. II)”)
   539:6-8; id. at 539:12-13 (testifying that Benlida called the additional amount a “premium
   payment”); id. at 540:7-10 (“Q. When was it, approximately, that Benlida began charging
   premiums to Circuitronix? A. On December 1st, 2019, Benlida did not like our November 1st,


   4
    CTX-US’s counsel had asked the court reporter before trial started whether she could produce
   daily rough transcripts and was informed that was not an option.



                                                       5
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 6 of 11




   2019 reconciliation numbers.”); id. at 543:14-544:5 (explaining how Benlida began charging a
   20 percent premium, but eventually accepted 10 percent, then 3 percent premiums by March
   2020). Mr. Kukreja testified that Benlida was “not allowed” to charge these premiums under
   either the Manufacturing Agreement or the Letter Agreement (id. at 540:16), but did so anyway,
   and CTX-US paid approximately “$317,000” in premiums because Benlida otherwise refused to
   release purchase orders into the system. Id. at 540:21-541:3.
          Mr. Kukreja also explained precisely how CTX-US had calculated the $317,539 amount
   it sought in damages for the premium payments. Specifically, since December 1, 2019, Mr.
   Kukreja instructed his accounting team to keep “a detailed log of every shipment which took
   place, what the purchase order value was, what the premium amount was, and what the payment
   amount was” in a document entitled “pro forma cost and inventory management spreadsheet.”
   Id. 544:6-10; id. at 542:14 (admitting the spreadsheet (ECF No. 282 (Exhibit D-Y13)) into
   evidence). To calculate damages for trial, CTX-US filtered out premiums paid after the date it
   filed its counterclaim (October 15, 2021), and obtained the $317,539.48 figure it ultimately
   presented to the jury in the “undisputed document,” a summary exhibit, that CTX-US referenced
   in its Rule 50(a) motion. Id. at 544:14-20; see also Exhibit 1 to Am. Mot. - ECF No. 281-72
   (Trial Exhibit D-X13); DV Mot. at 3 (discussing this summary exhibit).
          More than merely “present[ing] no evidence … to controvert” this testimony (id.), the
   testimony of Benlida’s chief witness coincided with and reinforced Mr. Kukreja’s testimony
   regarding the existence of the premium payments. During Tracy Huang’s direct examination on
   October 20, 2023, she affirmatively admitted that Benlida had charged CTX-US premiums
   toward the end of 2019 because of the parties’ ongoing dispute. ECF No. 323 (“Trial Tr.
   (Vol. V)”) 1370:5-13 (testifying that premiums came about at the “end of 2019” “since we still
   had the dispute pending”). She explained that, because Benlida’s credit re-insurer’s records
   reflected CTX-US’s supposedly overdue payments, the credit re-insurer required that Benlida
   charge premium payments to CTX-US if the companies continued to do business together. Id. at
   1370:14-18 (Ms. Huang: “So the credit insurance company requests us if we need to continue to
   do business with them, besides prepayment, they also request premium.”). She went on to
   describe how Benlida negotiated the percentage of the premiums with its re-insurer, testifying
   that the re-insurer had first requested a 10% premium and then had accepted Benlida’s request to
   reduce the premium to 3% after two to three months. Id. at 1370:18-21 (“So, firstly, [the credit




                                                   6
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 7 of 11




   insurance company] request 10 percent. And then after two or three months, … we request to
   deduct to 3 percent, and then they accept. So that’s why it’s – 10 percent or 3 percent premium
   came out.”). On cross-examination, she again confirmed that Benlida had passed on the
   premium from its credit insurer to CTX-US starting in 2019. ECF No. 324 (“Trial Tr.
   (Vol. VI)”) 1518:22-1519:10. She also admitted that the Manufacturing Agreement did not have
   any provision allowing Benlida to require CTX-US to pay premiums. Id. at 1519:11-15. In fact,
   she testified that the Manufacturing Agreement has a pricing matrix that controls the price
   Benlida is allowed to charge CTX-US for a purchase order and the limited circumstances under
   which Benlida is allowed to increase prices (including providing CTX-US with a four-month
   advance notice of the increase), but Benlida required CTX-US to pay premiums anyway. Id.
   1520:16-1521:16.
            Ms. Huang’s testimony regarding the approximate start date of the premium payments
   (end of 2019) and the percentage premiums Benlida exacted from CTX-US (10% then 3%) also
   matches the data in the “undisputed document” that CTX-US referenced in its motion (DV Mot.
   at 3), which was also discussed by Mr. Kukreja at trial. Trial Tr. (Vol. II) 546:1-20 (Mr. Kukreja
   testifying that the summary exhibit accurately reflected $317,539.48 in premiums that Benlida
   charged CTX-US, which CTX-US brought as part of its claims; also stating the exhibit did not
   include, and CTX-US was not seeking recovery for, premiums that continued to accrue in 2022
   and 2023). 5 Specifically, this summary document contains the chart below, which shows CTX-
   US paid $317,539.48 in total premiums—$281,313.32 at a 10% overcharge in 2020, and
   $36,226.16 at a 3% overcharge in 2021:




   5
       Benlida introduced no testimony disputing CTX-US’s calculations on the premium payments.



                                                   7
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 8 of 11




   Exhibit 1 to Am. Mot. - ECF No. 281-72 (Trial Exhibit D-X13). The Court previously dismissed
   reliance on this summary exhibit as “not enough” to grant judgment as a matter of law in CTX-
   US’s favor. DV Order at 5. Viewed in the proper context of the testimony surrounding it with
   the benefit of the trial transcript, the Court should appreciate that this exhibit serves as a clear
   and accurate snapshot of undisputed evidence of the amount of premium payments Benlida
   forced CTX-US to pay ($317,539), in plain violation of the terms of the parties’ contract.
           In short, the evidence at trial that CTX-US made these premium payments pursuant to
   Benlida’s improper demand is “so one-sided as to be of overwhelming effect.” U.S. E.E.O.C. v.
   Massey Yardley Chrysler Plymouth, Inc., 117 F.3d 1244, 1250 (11th Cir. 1997); see also
   Handley, 2023 WL 6628921, at *3. While the premium issue did not dominate the trial, the
   evidence on the issue was not limited to the testimony of “Circuitronix’s own principal,” Mr.
   Kukreja, as the Court seemed to suggest (DV Order at 5); Ms. Huang also testified on the matter,
   and her testimony did not present “conflicting” evidence or allow for “[d]ifferent inferences.”
   Massey Yardley, 117 F.3d at 1250 (discussing conflicting evidence in that case). Instead, she
   confirmed what Mr. Kukreja testified about the amount Benlida charged and the amount CTX-
   US paid for these premiums. Thus, even if Mr. Kukreja cannot be considered a “disinterested
   witness[],” “the jury would not be at liberty to disbelieve” his testimony when it was not simply
   “uncontradicted and unimpeached” (DV Order at 5 (citations omitted)), but actually bolstered by
   the testimony of the opposing party’s key witness. 6



   6
     Lest Benlida argue that CTX-US’s supposed nonpayment of invoices in Benlida’s complaint
   necessitated and legitimized its imposition of payment premiums at the request of its re-insurer,
   that argument is foreclosed by other trial evidence (including testimony offered by Benlida
   witnesses) and, ultimately, the jury’s verdict. As discussed, the jury verdict of $7,585,847
   corresponds, to the dollar, with the amount of damages sought for overpayments on invoices that
   Benlida declined to return ($4,760,847) and payments that Benlida diverted to ROK
   ($2,825,000). See Exhibit 2 to Am. Mot. - ECF No. 281-61 (summary trial exhibit (Ex. D-N9)
   reflecting $4,760,847 in overpayments related to the reconciliation period through July 2019);
   Exhibit 3 to Am. Mot. - ECF No. 281-66 (summary trial exhibit (Ex. D-Q13) reflecting
   $2,825,000 in payments made to ROK); see also Trial Tr. (Vol. II) 431:17-432:10, 451:2-14 (Mr.
   Kukreja testifying about the ROK payments summary exhibit (Ex. D-Q13), and the $2,825,000
   sum in diverted payments to ROK that CTX-US is claiming); id. at 422:5-426:14, 428:22-
   432:25, 433:16-451:14 (Mr. Kukreja testifying about broader context of how and why Benlida
   requested payments to ROK, and the documentation matching those payments); Trial Tr. (Vol.
   VI) 1666:6-1667:24 (closing argument reiterating the $4,760,847 figure for the 2019




                                                      8
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 9 of 11




          Judgment as a matter of law adding the $317,539 premium damages to the judgment is
   appropriate where, as here, “there is insufficient evidence for permitting any different finding.”
   Handley v. Werner Enters., Inc., 655 F. Supp. 3d 1348, 1363 (M.D. Ga. 2023) (quoting 9A
   Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2535 (2d ed. 1995)),
   aff’d, 2023 WL 6628921.




   reconciliation and drawing jury’s attention to Ex. D-N9); id. at 1668:2-1669:17 (same regarding
   the $2,850,000 figure for payments diverted to ROK and drawing jury’s attention to Ex. D-Q13).
           Ample trial testimony supports the jury’s implicit finding that CTX-US did not underpay
   and was therefore damaged in the sum of $4,760,847 based on its overpayment of invoices.
   Apart from corroborative testimony by CTX-US witnesses, including Mr. Kukreja and CTX-
   US’s accounting expert, Barry Mukamal, Benlida’s witnesses’ testimony also support this point.
   See, e.g., Trial Tr. (Vol. II) 539:23-540:3 (Mr. Kukreja testifying CTX-US was seeking $4.7
   million against Benlida for the 2019 reconciliation part of the case); id. at 538:14-539:5 (Mr.
   Kukreja testifying on the parties’ reconciliation efforts, including in Trial Exhibit 148 (see ECF
   No. 282)); ECF No. 322 (“Trial Tr. (Vol. IV)”) 1088:9-15 (Mr. Mukamal testifying that CTX-
   US incurred damages in the sum of $4,760,847, after calculating payments, invoices, and debit
   memos).
           During Ms. Huang’s cross-examination, for instance, she conceded that CTX-US had
   paid all the invoices issued to it (not Circuitronix (Hong Kong) Ltd. (“CTX-HK”)), and in fact
   had actually overpaid those invoices by sending Benlida more than the money owed. Trial Tr.
   (Vol. V) 1391:4-20 (“Q. … Circuitronix U.S. actually sent Benlida the money, more than that
   money, for those invoices. And Benlida received it, correct? A. Correct.”); see also id. at
   1391:21-1392:11. She also acknowledged that, with respect to sorting out discrepancies in
   invoice payments between the two companies, both CTX-US and Benlida had spent enormous
   amounts of time and resources on reconciling their accounts in 2019 and had put to one side
   issues related to lead-time penalties and price increases in an effort to come to an agreement. Id.
   at 1394:25-1395:15. For his part, Benlida’s CFO Roger Wu could not state during his own
   cross-examination whether—when comparing only CTX-US invoices and payments and setting
   aside CTX-HK invoices and payments—CTX-US was in an overpaid position and, if so, by how
   much. Id. at 1211:22-1212:3. Finally, Benlida’s accounting expert, Randall Paulikens, whose
   deposition testimony was read into evidence, affirmed that he “was not going to quibble with the
   $4.7 million [overpaid] figure that [CTX-US’s accounting experts] came up with.” Trial Tr.
   (Vol. VI) 1608:2-8; see also id. at 1608:16-17 (Mr. Paulikens’ testimony that “at this moment,
   the 4.7 million, based on what [CTX-US’s accounting experts] did, I can live with”).
           This testimony from Benlida’s own witnesses corroborates Mr. Kukreja’s testimony
   regarding overpayment amounts and culminated in a jury finding plainly awarding damages that
   included these overpayments. It prevents Benlida from credibly arguing that the premiums it
   assessed were proper and required by supposed CTX-US underpayments.




                                                    9
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 10 of 11




                                             CONCLUSION
          For the foregoing reasons, the Court should grant CTX-US’s renewed motion for
   judgment as a matter of law under Rule 50(b).


                        CERTIFICATE OF RULE 7.1(a)(3) CONFERENCE

          Undersigned counsel for CTX-US previously conferred with counsel for Benlida in a
   good faith effort to resolve the issues raised in the original 50(b) motion. Counsel for Benlida
   did not object to CTX-US making the motion, or to CTX-US’s alternate request for relief to
   supplement the motion when the trial transcript is ready. Benlida’s counsel did object, however,
   to the ultimate relief CTX-US seeks: increasing the judgment by $317,539 in premium
   payments. Accordingly, CTX-US’s counsel has been unable to resolve that issue raised in the
   motion.
          Additionally, during counsel’s meet-and-confer efforts, Benlida indicated that, should
   CTX-US ultimately lose on this motion, Benlida objects to CTX-US seeking to add the time
   spent drafting the motion into its claim for attorney’s fees.
          As the present filing is merely an amendment to the original Rule 50(b) motion over
   which the parties conferred, and which the Court has instructed to be filed, the parties did not
   confer again before CTX-US’s filing of this amended motion.
   DATED this 4th day of March, 2024.

                                                    Respectfully submitted,

                                                    /s/ Christina H. Martinez     .
                                                    Stephen F. Rosenthal
                                                    Florida Bar No. 0131458
                                                    srosenthal@podhurst.com
                                                    Matthew P. Weinshall
                                                    Florida Bar No. 84783
                                                    mweinshall@podhurst.com
                                                    Christina H. Martinez
                                                    Florida Bar No. 1029432
                                                    cmartinez@podhurst.com
                                                    PODHURST ORSECK, P.A.
                                                    One S.E. 3rd Avenue, Suite 2300
                                                    Miami, Florida 33131
                                                    Tel.: 305-358-2800
                                                    Counsel for Circuitronix, LLC



                                                    10
Case 0:21-cv-60125-RNS Document 326 Entered on FLSD Docket 03/04/2024 Page 11 of 11




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission

   of Notices of Electronic Filing generated by CM/ECF on March 4, 2024 as filed with the Clerk of

   the Court using CM/ECF.

                                                       By: /s/ Christina H. Martinez    .
                                                               Christina H. Martinez




                                                  11
